                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF NEW YORK
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IMMIGRANT DEFENSE PROJECT; and CENTER FOR
CONSTITUTIONAL RIGHTS,

                          Plaintiffs,

               v.                                                    Case No. 20-cv-10625 (RA)

UNITED STATES IMMIGRATION AND CUSTOMS
ENFORCEMENT; UNITED STATES DEPARTMENT OF
HOMELAND SECURITY,

                  Defendants.
________________________________________________



  REPLY MEMORANDUM IN FURTHER SUPPORT OF PLAINTIFFS’ CROSS-
 MOTION FOR SUMMARY JUDGMENT AND IN OPPOSITION TO DEFENDANTS’
                MOTION FOR SUMMARY JUDGMENT

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                                 PRELIMINARY STATEMENT

         Plaintiffs filed this Freedom of Information Act (FOIA) request about massive immigration

surveillance and arrest operations reported by the New York Times as “Operation Palladium.”

Through this litigation, Plaintiffs have learned that Palladium was just one of a number of

Immigration and Customs Enforcement’s (ICE) contemporaneous surge operations that included

an unusual set of features: size and scope of operation, long hours of surveillance, high arrest

numbers, targeting of specific cities, and deployment of Customs and Border Protection (CBP)

agents to interior enforcement initiatives.

         Nothing in Defendant ICE’s briefing justifies the failure to use appropriate search terms or

to follow obvious leads. Defendant Department of Homeland Security (DHS) failed to arrange for

searches of CBP, one of the agencies likely to have responsive records, and now improperly refuses

to refer the Request to CBP for a search. Further, Defendants have failed to demonstrate that the

emails, operations plans, handbook for agents, or refresher training are appropriately redacted

pursuant to Exemptions 5 and 7(E). Plaintiffs and the public are entitled to understand the

government’s conduct during these mass operations, and the FOIA demands that such information

be disclosed.


                         SUPPLEMENTAL STATEMENT OF FACTS

         In response to Defendants’ briefing, Plaintiffs supplement their earlier statement of facts

with details regarding their request and their evolving understanding of the nature of Operation

Palladium.1 In February 2020, reporters from the New York Times contacted Plaintiff Immigrant

Defense Project (IDP) about CBP agents supporting ICE interior enforcement operations targeting




1
    See generally Dkt. 49, Declaration of IDP Senior Advisor Mizue Aizeki.


                                                  1
“sanctuary” cities. Around that time, IDP received reports from New York City community

members that CBP agents were conducting arrests. The Times again contacted IDP with questions

for a follow-up article, which described “expanded surveillance operations and added manpower .

. . the latest intensification in a conflict between the Trump administration and cities that refuse to

help with deportations [“sanctuary” cities].”2 The Times reported that this initiative would run from

February through December 31, 2020, and that it was called “Operation Palladium.” At the time

Plaintiffs filed their Request, the only information Plaintiffs had about these operations came from

the Times articles. Currently, the only additional information Plaintiffs have is from this lawsuit.

ICE does not appear to have publicly released any additional information on these initiatives.

       According to an internal email reviewed by the Times, “ICE leadership had requested at

least 500 special agents . . . to join the enhanced arrest campaign rolling out in sanctuary cities,”

which followed “an earlier decision, made public [the previous] month, to deploy elite BORTAC

agents—immigration SWAT teams that are normally assigned to risky border smuggling, rescue

and intelligence operations—to help arrest and deport immigrants in sanctuary cities.”3 This article

links “the enhanced arrest campaign” to the article published three weeks prior on BORTAC

deployment in cities such as Chicago and New York “to boost the enforcement power of local

[ICE] officers.”4 This information was shared with the Times by “two officials familiar with the

secret operation” at a time of heightened community fear about ICE activity in New York. ICE

agents had shot a man in the face during an arrest in Brooklyn. ICE activity in the region was at

very high levels.5 By initiating this lawsuit, Plaintiffs have learned information of which they were


2
  Caitlin Dickerson, Zolan Kanno-Youngs and Annie Correal, ‘Flood the Streets’: ICE Targets
Sanctuary Cities With Increased Surveillance, N.Y. Times (March 5, 2020).
3
  Id.
4
  Caitlin Dickerson and Zolan Kanno-Youngs, Border Patrol Will Deploy Elite Tactical Agents
to Sanctuary Cities, N.Y. Times (Feb. 14, 2020).
5
  See Aizeki Decl. ¶ 9.


                                                  2
previously unaware. The records produced indicate that Palladium was just a part of a much

broader immigration policing initiative by the Trump Administration, and that the Times’s

reporting was underinclusive. Palladium was the name given to one of several “surge” policing

operations happening simultaneously that included different DHS agencies. It also appears the

name “Palladium” was assigned after the initiative was already in motion. Records produced point

to Homeland Security Investigations (HSI) and CBP agents collaborating with ICE Enforcement

and Removal Operations (ERO) in contexts prior to the operation being named “Palladium.”

Examples include:


       ● Email from Supervisory Border Patrol Agent (with Rio Grande Valley Special
         Operations Detachment, Border Patrol Tactical Unit BORTAC), Subject:
         SUBzERO Weekly-NYC-FUG OPS Team 3, with weekly stats report for arrest
         operations February 16-22 (Bates No. 484)6;
       ● Emails with weekly reports from Supervisory Border Patrol Agent, BORTAC,
         for SUB zERO from for February 23-29 (Bates No. 468), March 1-7 (Bates No.
         474), for March 8 -14 (Bates No. 479)7;
       ● Email from HSI Program Manager, (A) DIV II, indicating 30 HSI Special
         Agents would be assigned to Operation Palladium as of February 24, and that
         “although the initial period of this surge corresponds with Operation Cross
         Check 2020, operations will continue through the remainder of the calendar
         year” (Bates No. 489)8;
       ● Email from ICE ERO Fugitive Operations Unit Chief, February 14, 2020
         referencing Palladium as “complementary” to other operations: “We need to
         stand up a new Op Code to support a new ICE effort. Please see attached for
         clarification and awareness of EAGLE codes regarding rolling operations, and
         the new complementary ‘Operation Palladium.’” (Bates No. 794)9;
       ● Email from ICE ERO Fugitive Operations Unit Chief, February 14, 2020
         suggesting that Operation Palladium was announced abruptly: “I personally had
         no time to update you on the expansions since they broke late last night and
         needed to document the main intent for ERO” (Bates No. 795).10




6
  See Dkt. No. 50, Declaration of Andrew Wachtenheim, Ex. 2.
7
  See id.
8
  See id., Ex. 10.
9
  See Dkt. No. __, Second Declaration of Andrew Wachtenheim, dated June 13, 2022, Ex. 19.
10
   See id., Ex. 20.


                                               3
          Defendants themselves produced these records, yet now claim their search obligation is

limited almost exclusively to variants of the term “Palladium,” and to documents held by limited

sub-agencies within ICE. Despite the clear reveal of Defendants’ production—that what the Times

was reporting on was actually multiple operations and that the deployment of agents from CBP

and other non-ICE-ERO entities was a part of all of these operations—Defendants chose not to

conduct obvious searches regarding the full range of operations directly related to Palladium.


                                            ARGUMENT

     I.   Defendants’ Searches Were Inadequate Because They Failed To Arrange For The
          Search Of Agency Sub-Components Likely To Have Responsive Records And
          Failed To Follow Obvious Leads.

          In three principal ways, Defendant DHS miscasts both the Request and the regulations

governing FOIA, arguing that: a) the Request named only DHS and ICE sub-agencies; b) the

regulations at 6 C.F.R. § 5.3(a) did not oblige them to arrange for a search of CBP; and c) if this

Court allows for submissions to the DHS Privacy Office rather than requiring a request be sent to

every individual FOIA office, then the Privacy Office will suffer from efficiency and

administrability issues.11 This Court should reject DHS’s unfounded contention that they had no

obligation to facilitate a search of CBP.


          a. Defendants were obligated to direct the FOIA Request to all appropriate offices and
             departments.

          Defendants claim that the Request named only DHS and ICE and its sub-agencies as

likely to have responsive records. This is not so. The Request asks that DHS and ICE “please

direct this request to all appropriate offices and departments within each agency.” Dkt. No. 1-1 at



11
 See Dkt. No. 54, Declaration of Catrina Pavlik-Keenan, dated May 25, 2022 (“Pavlik-Keenan
Decl.”) ¶¶ 7-9, 11, 13-17; see also Dkt. No. 56 at pp. 4-8.


                                                4
2. The Request then lists several examples of DHS and ICE sub-agencies and components

Plaintiffs believed were likely to hold responsive records, but clearly stated that these were

examples and suggestions and that the Request was “not limited to” this list of agencies. Id.

       Defendants claim that “[n]othing in the request . . . indicated in any way that Plaintiffs were

seeking information from U.S. Customs and Border Protection.” Pavlik-Keenan Decl. ¶ 11. This

is also not so. The Request states, “Operation Palladium is being enforced nationwide, including

in New York City, and is having an immediate and dangerous impact on the immigrant

communities’ safety, including sightings of Border Patrol agents in Brooklyn, New York as

recently as mid-March.” Dkt. No. 1-1 at 7. Plaintiffs’ August 13, 2020 administrative appeal states,

“DHS has planned to send immigration agents, potentially including ICE agents, into cities across

the country months before the recent news of BORTAC and CBP agents at the Portland protests

surfaced.” Second Wachtenheim Decl., Ex. 18. Defendants have also had ample opportunity to ask

about Plaintiffs’ interest in records from CBP but did not do so.

       b. Federal regulations obligated Defendants to arrange for a search of CBP.

       Defendants further claim that 6 C.F.R. § 5.3(a) did not oblige them to arrange for a search

of CBP. This misreads the plain text and intent of the regulation, and impermissibly transfers the

burden of knowing which agency components hold responsive records from the agency to

requesters.

       Defendants maintain that 6 C.F.R. § 5.3(a)(1) directs requests be filed with the specific

agency component that maintains the records sought. See Pavlik-Keenan Decl. ¶ 8. But they also

acknowledge that the regulation’s next subsection, § 5.3(a)(2), explicitly allows for a requester to

submit a request to the DHS Privacy Office, see id. at ¶ 9, which is what Plaintiffs did. Plaintiffs

urge this court to reject Defendants’ assertion that Plaintiffs should have followed some heightened




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set of procedures not found in the regulations. Defendants also reference something they call the

“DHS FOIA Reference Guide” as a source of further instructions to requesters, see id. at ¶ 8, but

Plaintiffs have been unable to locate such a guide anywhere.

       Defendants state that, under § 5.3(a)(2), submission to the Privacy Office “is typically done

when requesters are unclear as to which component/office their request should be sent.” Id. at ¶ 9.

This was Plaintiffs’ situation, who did not know exactly which components of DHS would hold

responsive records. The role of CBP was not fully known to Plaintiffs when they filed the Request.

And so Plaintiffs submitted the Request to ICE, which is known to be in charge of interior

enforcement operations, and to the parent agency DHS and asked that they forward the Request to

components likely to have responsive records. Defendants now seek to weaponize the regulation

to assume some broad authority to search only a limited number of agencies rather than to look for

the agencies (however many) that may actually have useful information. See id. (“DHS PRIV

forwards the request to components ‘it determines to be most likely to maintain the records being

sought.’ DHS PRIV makes this determination based on the four corners of the FOIA request and

its knowledge of DHS components’ respective areas of responsibility.” [emphasis original]). This

is contrary to the FOIA.

       Defendants have not argued that CBP and other agencies are unlikely to hold responsive

records. They have stated only that they did not process the Request as one seeking CBP records,

and that it would be challenging to the DHS Privacy Office to have to refer requests to the FOIA

offices of its sub-components. But courts have rejected these kinds of excuses for failing to search.

See, e.g., Huntington v. U.S. Dep’t of Commerce, 234 F.Supp.3d 94, 103-104 (D.D.C. 2017) (“In

the absence of an affidavit containing the specific assertion that the [agency] searched all locations

likely to contain responsive documents, the Court must conclude that a genuine issue of material




                                                  6
fact remains as to whether the agency's efforts were sufficient.”) (emphasis in original); Am.

Immigration Council v. Dep’t of Homeland Security, 950 F.Supp.2d 221, 230 (D.D.C 2013)

(internal quotations omitted; emphasis original) (“In order for [ICE's search] methodology to be

sufficient, ICE would, at a minimum, have to aver that it has searched all files likely to contain

relevant documents.”); Oglesby v. Dept. of Army, 920 F.2d 57, 68 (D.C.Cir.1990) (“the agency

cannot limit its search to only one record system if there are others that are likely to turn up the

information requested.”).

       Defendants are perfectly positioned to know that CBP likely holds responsive records and

should have advised the DHS Privacy Office or any other DHS FOIA office accordingly. Of course

it is not expected that staff of the Privacy Office—such as the declarants in this litigation—know

about every operation or program conducted by the dozens of offices within DHS, its thousands

of employees, and its diverse mandate ranging from investigating white nationalist domestic

terrorism to providing emergency services following natural disasters. Rather, Privacy Office staff

have a responsibility to confer with contacts in DHS’s several components for guidance on which

components likely hold responsive records.

       For example, DHS or ICE should have advised the Privacy Office that high-level officials

within CBP were quoted in the Times about these issues, that CBP custodians would have

responsive records, and/or that ICE holds responsive records about the role of CBP. Defendants’

briefing instead argues that that if the DHS Privacy Office does not identify that an agency is likely

to be responsive, then that is the end of the matter; a defendant-agency has satisfied its obligations

simply by searching any sub-component. But this cannot satisfy the FOIA. See NAACP Legal

Defense & Education Fund, Inc. v. Dep’t of Justice, 463 F.Supp.3d 474, 484 (S.D.N.Y. 2020)

(internal quotation marks and citations omitted) (“To satisfy the reasonableness standard . . . , an




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agency must search all locations likely to contain responsive records; not simply where the records

are most likely to be found.”).

       c. Purported administrability concerns do not excuse Defendants’ failure to comply
          with federal regulations.

       DHS warns that properly referring Plaintiffs’ request to all appropriate sub-agencies would

open the floodgates. If the Privacy Office is tasked with referring requests to other sub-components

of DHS, their system will become less efficient. Pavlik-Keenan Decl. ¶ 17. But this broad and

speculative policy concern cannot undo Defendants’ obligations under the FOIA.

       Congress has assigned Defendants the obligation to provide responsive records to the

public upon request. The implementing regulation explicitly states that the Privacy Office may be

used to receive requests when the correct identity of every potentially responsive agency is

unknown to requesters. 6 C.F.R. § 5.3(a)(2).

       Here, Plaintiffs had limited information about DHS immigration enforcement operations

taking place from February through December 2020. Plaintiffs complied with their statutory

obligations to file a detailed request with appropriate agencies, asking that these agencies satisfy

their obligations to seek records from the government components likely to have responsive

records. Defendants hold all of the requisite knowledge and systems to produce responsive records

from multiple agencies and should be ordered to do so.12


12
  The reluctance to search CBP for these documents is not isolated to this one failure. To facilitate
this search of CBP, on May 24, 2022, Plaintiffs filed a new FOIA Request directly with CBP’s
FOIA office via FOIA Online for some of the records at issue in this lawsuit. See Second
Wachtenheim Decl., Ex. 21. CBP initially administratively closed the Request in less than 24 hours
on completely erroneous bases by manufacturing and asserting deficiencies that plainly were not
there. See id., Ex. 22. Plaintiffs followed up by filing the same FOIA Request via FedEx rather
than electronically. CBP again rejected the Request, saying it had already been filed. See id.
Plaintiffs are now forced to file a letter with CBP demanding that they either accept and respond
to the Request, or simply deny it so that we can proceed to litigation, as it is time and resource-
intensive for Plaintiffs to fight with the agency to process a properly constructed Request that they
keep rejecting for reasons that are entirely fabricated.


                                                 8
         In addition, even within ICE, Defendants failed to do an adequate search. As Plaintiffs

argued in their opening brief, Defendant ICE erroneously refused to search several of its sub-

components likely to have responsive records. See Dkt. No. 51 at 13. For example, ICE’s Office

of Public Affairs (“OPA”) appears likely to have responsive records, as ICE officers made public

statements to the press about Palladium and related operations, yet ICE failed to direct the Request

to OPA.

 II.     Defendant DHS And ICE’s Searches Were Inadequate Because They Failed To Use
         Sufficient Search Terms And Failed To Follow Obvious Leads.

         The primary search term that Defendants used was “Palladium.”13 Defendants do not

defend this aspect of their search. Nor do they explain or justify their flawed perspective that the

term “Palladium” and its variations yielded sufficiently responsive materials.

         But it is clear that these searches were not reasonably designed to yield all responsive

records. See Pls. Op. Br. at 8-9, citing DeBrew v. Atwood, 792 F.3d 118, 122 (D.C. Cir. 2015)

and Nat’l Day Laborer Org. Network v. U.S. Immigr. & Customs Enf’t, 877 F. Supp. 2d 87, 96

(S.D.N.Y. 2012). First, the overreliance on the search term “Palladium” and its variations in

unjustified and underinclusive because it is common for law enforcement to use acronyms or

shorthand in referring to operations. Similarly, it is unreasonable to assume every

communication or material related to Palladium would use its name.

         To justify their limited search, Defendants argue that search terms such as “Sub Zero” and

“HHS surge” “would not apply to Operation Palladium” and are not mentioned in the operations

plan for Palladium.14 But these terms are leads that emerged from Defendants’ search, confirming

that Palladium was one of several surge operations involving CBP taking place at that time.



13
     See generally Dkt. No. 46, Declaration of Lynnea Schurkamp, dated Mar. 28, 2022.
14
     See Dkt. No. 55, Declaration of Michele Welch, dated May 27, 2012, ¶ 8.


                                                  9
Similarly, Defendants did not search terms like “sanctuary cities” and “BORTAC” despite their

recurrence in the production and in the Times articles because, they say, these terms would both

be unlikely to return responsive material and also return too much material.15 This is conclusory,

provides insufficient detail, and is likely incorrect. ICE and DHS have not explained why there

would be so many references to BORTAC, a CBP entity, within ICE’s systems. Nor have ICE or

DHS explained why all of its officers and systems would have so many references to sanctuary

cities as to make a search unproductive. This is particularly confounding in light of the Times

articles which indicate sanctuary cities were at the heart of the DHS surge operations running in

2020. It is also contrary to law. It is well-established that “[a]gencies have an obligation to “follow

through on obvious leads to discover requested documents and the court evaluates the

reasonableness of an agency's search based on what the agency knew at its conclusion rather than

what the agency speculated at its inception.” Nat'l Day Laborer Org. Network v. U.S. Immigr. &

Customs Enf’t, 877 F. Supp. 2d 87, 103 n.79 (S.D.N.Y. 2012) (internal citations omitted).

          As for Defendants’ claim that terms like “Border Patrol” or “CBP” would be overinclusive,

as they would sweep in, for example, any email signature line from an agent of these sub-

components, Welch Decl. ¶ 9, this argument misstates Defendants’ search capabilities and

underplays the possibility of using search terms with connectors such as “and” or “w/in.” Because

communications between DHS or ICE (or the NYPD) about Palladium were precisely the kinds

of records requested here, Defendants should have devised search terms that would uncover the

records about ICE’s collaboration with CBP in Palladium and surge operations. They cannot

speculate that results would be too many and decline to try.




15
     Id. at ¶ 11.


                                                  10
III.   ICE Has Failed to Justify Redacting Emails, Operations Plans, Agent Manuals, and
       Fourth Amendment Refresher Trainings Pursuant to Exemptions 5 and 7(E).

           a. Exemption 5 does not apply to post-decisional emails and operations plans or to
              handbooks and trainings that reflect agency law.

       ICE has failed to demonstrate that the redactions in its emails are deliberative or that the

redated information in its operations plans, its ERO Fugitive Operations Handbook and the HSI

Surveillance Manual (“the manuals”) and Fourth Amendment Refresher Training (“the Refresher

Training”) are protected by the attorney-client privilege or the work product doctrine.

       First, Plaintiffs do not seek genuinely deliberative, pre-decisional information about how

to staff or execute operations in the redacted emails. Defs’. Reply Br. at 9-10. To the contrary,

Plaintiffs assert only that the finalized information about staffing and location of ICE operations

is not deliberative or pre-decisional and must be produced. Pls’. Op. Br. at 15-16. ICE’s citation

to case law protecting deliberative information where there has been no final decision, see Defs’.

Reply Br. at 10 n.5, is unavailing here; clearly, at some point ICE made a final decision concerning

staffing and location of operations, and where it did, that information cannot be withheld pursuant

to the deliberative process privilege. “A document with ‘operative and controlling effect’ is not

subject to the privilege, even if it may be rendered obsolete by a subsequent pronouncement.”

Citizens for Resp. & Ethics in Washington v. United States Postal Serv., 557 F. Supp. 3d 145, 156.

(D.D.C. 2021) (internal citations omitted).

       ICE has a similarly weak response to Plaintiffs’ argument that the Handbook and the

Training are not protected by attorney work-product doctrine or attorney-client privilege. As

Plaintiffs have argued, Pls’. Op. Br. at 17-18, it is clear under Second Circuit precedent that these

kinds of documents do not contain privileged information, because they are “working law”—the

agency’s “effective law and policy” that governs the conduct of agents in the field. Brennan Ctr.




                                                 11
for Just. at New York Univ. Sch. of L. v. U.S. Dep’t of Just., 697 F.3d 184, 199-200, 202 (2d Cir.

2012). “The privilege ‘may not be invoked to protect a document adopted as, or incorporated by

reference into, an agency’s policy,’ as open communication would not be ‘inhibited’ by the release

of documents which have become part of agency law.” Id. at 207 (quoting Nat’l Council of La

Raza v. U.S. Dep’t of Just., 411 F.3d 350, 360 (2d Cir. 2005)).

       ICE argues that these documents are “not meant to bind the agency” or agents but merely

reflect directions as to how to comply with “governing law imposed from outside the agency.”

Defs’. Reply Br. at 13. This is a surprising argument that reveals more about how agents view the

authority of Article III courts, Congress, and the Bill of Rights than it does about the purportedly

privileged nature of the redacted information. The ordinary purpose of a manual or training for

employees is to direct them to comply with the employer’s policy.

       It may be true that ICE agents in practice do not face “professional sanction” for violating

established law and agency policy when conducting operations in civilian areas. Defs’. Reply Br.

at 12. But ICE’s management failures cannot be used to place working agency law beyond the

reach of the FOIA. The lone practical case ICE cites to demonstrate its point that “legal advice” to

officers constitutes information protected by the attorney-client privilege or the work-product

doctrine, Lynch v. City of New York, No. 16 Civ 7355 (LAP), 2021 WL 5140728 (S.D.N.Y. Nov.

4, 2021), does not address working agency law. Instead, Lynch involved advice given by an

attorney to individual arresting officers regarding specific arrests at a “particular demonstration”

on an identified date. 2021 WL 5140728 at *4. The analysis there does not in any way undermine

Second Circuit precedent that the agency’s “effective law and policy” is not protected by the

Exemption 5. Brennan Ctr., 697 F.3d at 202.




                                                12
           b. Exemption (7)(E) does not apply to finalized staffing plans, surge locations, or
              operations plans, nor to manuals and trainings reflecting agency law.

        Neither the redactions of staffing and surge locations in the produced emails nor the

redacted information in the manuals or the Refresher Training can be withheld under Exemption

7(E).

        ICE’s staffing plans and surge locations are not “techniques and procedures” under

Exemption 7(E) because they do not “refer[] to how law enforcement officials go about

investigating a crime.” Allard K. Lowenstein Int'l Human Rights Project v. Dep’t of Homeland

Sec., 626 F.3d 678, 682 (2d Cir. 2010). Instead, this information, which deals with “resource

allocation,” falls under the category of “guidelines.” Id. But to justify redacting such guidelines,

ICE must show that disclosure could be “reasonably expected to risk circumvention of the law.” 5

U.S.C. § 552 (b)(7)(E). This ICE has not done.

        The risks of circumvention of the law “are lowest in the context of historical information.”

Families for Freedom v. United States Customs & Border Prot., 837 F. Supp. 2d 287, 300

(S.D.N.Y. 2011). The operations discussed in the emails are over; they occurred in 2020. “Release

of historical staffing statistics could not reasonably be expected to risk circumvention of the law.”

Id. Nowhere do ICE’s declarations explain how the release of staffing numbers, operations plans,

or surge locations from a three-year-old enforcement program could harm operations now. The

information must be disclosed.

        As for the manuals and the Refresher Training, Exemption 7(E) does not apply to their

discussions of the legal basis for agents’ conduct any more than does Exemption 5. Agency policy

on how to properly conduct surveillance or operations while complying with federal law is not a

“technique and procedure” of law enforcement or a guideline that if disclosed would risk

“circumvention of the law.” 5 U.S.C. § 552 (b)(7)(E). In contrast to the discrete and specified



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materials deemed to fall under Exemption 7(E) in Knight First Am. Inst. v. United States

Citizenship & Imm. Servs., 30 F. 4th 318 (2d Cir. 2022), or Bishop v. U.S. Dep’t of Homeland Sec.,

45 F. Supp. 3d 380 (S.D.N.Y. 2014), the manuals are redacted in wide swaths that cover not just

specific questions regarding ineligibility for immigration benefits or reasons for screening

particular individuals at the border, but rather large-scale policy about agents’ conduct in

neighborhoods and communities. Further, unlike the materials at issue in Knight, as Plaintiffs have

demonstrated, highly similar materials are already in the public domain, including earlier versions

of the ERO Fugitive Operations Handbook and the Refresher Training. Pls’. Op. Br. at 23-25.

Finding the Handbook does not require “an enterprising researcher” to reconstruct what ICE must

have stated by interviewing agents and reconstructing what they were taught. Cf. Knight, 30 F.4th

at 333. Instead, ICE itself has released such information to the public in the past. The information

should be disclosed. In the alternative, to the extent that there is any doubt about the contents of

these materials, Plaintiffs request that the court examine the disputed documents in camera. See,

e.g., Bishop, 45 F.3d at 390.


                                         CONCLUSION

       For the reasons set forth above, Plaintiffs respectfully request that the Court deny

Defendants’ Motion for Summary Judgment, grant Plaintiffs’ Cross-Motion, and order Defendants

to run supplemental searches of more sub-agencies and components and using more search terms,

to produce documents known to be in Defendants’ possession, and to lift improperly applied

redactions from materials already produced.


Dated: June 13, 2022                                 Respectfully submitted,
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